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                                         UNITED STATES DISTRICT COURT
                                             DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                    Plaintiff
v.                                                                Case Number 8:00cr357-001

                                                                  USM Number 17001-047

SANDRA ROBBINS
                            Defendant
                                                                  Paul M. Gnabasik

                                                                  Defendant’s Attorney
___________________________________

                                        JUDGMENT IN A CRIMINAL CASE
                               (For Revocation of Probation or Supervised Release)

THE DEFENDANT admitted guilt to violation of standard condition 6, 7, and special condition 6 of the term of
supervision .

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:


                                                                                             Date Violation
          Violation Number                        Nature of Violation                         Concluded


 2 (Filing No. 70)                        Failure to notify probation of          March 20, 2005
                                          employment and address change

 3   (Filing No. 70)                      Testing positive and admitting to       March 12, 2005
                                          methamphetamine use

 4    (Filing No. 70)                     Failure to report for drug testing      March 20, 2005

 1 (Second Petition Filing No. 87)        Failure to notify probation of          February 9, 2006
                                          address change

 2 (Second Petition Filing No. 87)        Testing positive and admitting to       February 6, 2006
                                          methamphetamine use

 3 (Second Petition Filing No. 87)        Failure to submit or report for drug    January 31, 2006
                                          testing

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984 and Booker/FanFan decisions.

Allegation 1 of the Petition (Filing No. 70) is withdrawn by the United States.

Following the imposition of sentence, the Court advised the defendant of her right to appeal pursuant to the provisions
of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and that such Notice of Appeal must be filed with the
Clerk of this Court within ten (10) days of this date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of
any material change in the defendant’s economic circumstances.

                                                                                         Date of Imposition of Sentence:
                                                                                                         March 31, 2006

                                                                                                 s/ Joseph F. Bataillon
                                                                                            United States District Judge

                                                                                                           April 17, 2006
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                                       IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons
to be imprisoned for a term of eighteen (18) months.



       (X) The defendant is remanded to the custody of the United States Marshal.

                            ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt , above.

                                        CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                  SUPERVISED RELEASE

       No term of supervised release was imposed.


                              CRIMINAL MONETARY PENALTIES

       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

      Total Assessment                     Total Fine                    Total Restitution

        $100 paid in full

                                              FINE

       No fine imposed.

                                         RESTITUTION

       No restitution was ordered.

                                  SCHEDULE OF PAYMENTS

        Payments shall be applied in the following order: (1) assessment; () restitution; (3) fine
principal; (4) costs of prosecution; (5) interest; (6) penalties.

       Payment of the total fine and criminal monetary penalties shall be due as follows:

                       In full and due immediately.

      The defendant will receive credit for all payments previously made toward any criminal
monetary penalties imposed.

      All financial penalty payments are to be made to the Clerk of Court for the District of
Nebraska, 111 S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

       Any payment ordered under Part II, must comply with 18 U.S.C. § 3572, 18 U.S.C. §
3664(n), and include a provision under 18 U.S.C. § 3664(k) in which defendant must notify the
court of any material changes in defendant's economic circumstances. Upon such notice, the
Court may adjust the installment payment schedule.

       Special instructions regarding the payment of criminal monetary penalties pursuant
to 18 U.S.C. § 3664(f)(3)(A):

        Unless the court has expressly ordered otherwise in the special instructions above, if this
judgment imposes a period of imprisonment, payment of criminal monetary penalties shall be due
during the period of imprisonment. In the event the entire amount of monetary penalties imposed
is not paid prior to the commencement of supervision, the U.S. probation officer shall pursue
collection of the amount due. All criminal monetary penalty payments, except those payments
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made through the Bureau of Prisons' Inmate Financial Responsibility Program, are to be made as
directed by the court, the probation officer, or the United States attorney.

       The defendant shall forfeit the defendant's interest in the following property to the United
States: $5,010.00.

CLERK’S OFFICE USE:


ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
